Case 2:05-Cr-20280-BBD Document 29 Filed 08/24/05 Page 1 of 2
]N THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION
UNITED STATES OF AMERICA
V. Cr. No. 05~20280-01-D
PREMARIA D. BERRY

ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT

Page|D 32

FILED BY ___,_4__.,_ D.C.
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The defendant has this day notiiied the Court that he or she is attempting to obtain private

counsel to represent him or her in this action. Pursuant to the Speedy Tn`al Act, as set out in 18

U.S.C. § 3l6l(h)(8)(B)(iv), a defendant may be granted a period of excludable delay while

attempting to obtain private counsel

IT IS THEREFORE ORDERED that the time period of OS’/QH f 05 through

08[3| /05 be excluded from the time limits imposed by the Speedy Trial Act for trial

of this case, while the defendant is attempting to obtain private counsel.

ARRAIGNMENT IS RESET TO WEDNESDAY, ig /Bi 205' at 9:30 a.m.

BEFoRE MAGISTRATE JUDGE fowlde

'_WM,JA_

UNITED STATES MAGISTRATE IUDGE

DATE: §§ leg if §

This document entered on the docket sheet in compliance

with Rule 55 and/or 32(b) FRCrP on 8-£ h 25

 

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This notice confirms a copy of the document docketed as number 29 in
case 2:05-CR-20280 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

